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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


  COMMITTEE ON THE JUDICIARY,
  UNITED STATES HOUSE OF
  REPRESENTATIVES,

                               Plaintiff,
                                                             No. 19-cv-2379 (KBJ)
          v.

  DONALD F. MCGAHN II,

                               Defendant.


           PLAINTIFF’S MOTION FOR PRELIMINARY INJUNCTION
 OR, IN THE ALTERNATIVE, FOR EXPEDITED PARTIAL SUMMARY JUDGMENT

       Plaintiff moves for a preliminary injunction pursuant to Federal Rule of Civil Procedure

65(a) or, in the alternative, for partial summary judgment pursuant to Federal Rule of Civil

Procedure 56(a), on the preliminary injunction schedule, see LCvR 65.1(c), (d), or on an

otherwise expedited schedule ordered by the Court. Plaintiff’s motion is based on the attached

memorandum of law, Declaration of Barry H. Berke (Aug. 26, 2019), Declaration of Todd B.

Tatelman, statement of material facts as to which Plaintiff contends there is no genuine issue, see

LCvR 7(h)(1), and any oral argument presented at the hearing on Plaintiff’s motion.
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                                   Respectfully submitted,

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August 26, 2019




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